       Case 19-13529-pmm                        Doc 85         Filed 04/24/24 Entered 04/24/24 14:47:14                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  RICHARD E. PARKER


     Debtor 2              SUZANNE G. LUCEY-PARKER
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-13529-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 COLONIAL SAVINGS FA                                                        22-1

 Last 4 digits of any number you use to identify the debtor's account                         3   2   2   3

 Property Address:                              350 BRIDLED TERN
                                                LITITZ, PA 17543




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        323.67

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        323.67

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $           -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $           -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $        323.67



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
   Case 19-13529-pmm                 Doc 85    Filed 04/24/24 Entered 04/24/24 14:47:14                              Desc Main
                                               Document Page 2 of 3



Debtor 1     RICHARD E. PARKER                                                 Case number (if known) 19-13529-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     04/24/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




Form 4100N                                        Notice of Final Cure Payment                                              page 2
   Case 19-13529-pmm             Doc 85     Filed 04/24/24 Entered 04/24/24 14:47:14                            Desc Main
                                            Document Page 3 of 3



Debtor 1     RICHARD E. PARKER                                            Case number (if known) 19-13529-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                      Creditor Type               Date       Check # Posting Description                  Amount
22       COLONIAL SAVINGS FA       Pre-Petition Arrears        02/23/2021 17213726Disbursement To Creditor/Principal    323.67
                                                                                       Total for Part 2 - B:            323.67




Form 4100N                                     Notice of Final Cure Payment                                             page 3
